       Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 1 of 27




                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION



TEXAS INWOOD GROVE
APARTMENTS, L.P.
    Plaintiff,

v.                                                        §               Civil Action: 4:12-cv-01723

ESSEX INSURANCE COMPANY, ET                               §
AL.

         Defendants.




                         DEFENDANT HOMELAND INSURANCE
                    COMPANY OF NEW YORK'S ORIGINAL ANSWER AND
                             ORIGINAL COUNTERCLAIM

TO THE HONORABLE UNITED STATES DISTRICT COURT:

          Subject to its pending Motion to Dismiss or Alternatively, Motion for More Definite

Statement, Defendant Homeland Insurance Company of New York ("Defendant" or

"Homeland") files its Original Answer to Plaintiffs Original Petition (hereafter "Complaint" 1 )

and its Original Counterclaim, and respectfully shows the Court as follows:

                                           I.       FIRST DEFENSE

          Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Plaintiffs Complaint

 fails to state a claim or cause of action against Homeland upon which relief can be granted.




     Plaintiffs Original Petition was filed in the 133 rd Judicial District Court, Harris County, Texas and removed to
      this Court on June 8, 2012.
      Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 2 of 27




                                         II. ANSWER

          Subject to and without waiving the foregoing defense, Defendant answers the specific

allegations of Plaintiffs Complaint as follows:

                                      Discovery Control Plan

          1.     The allegations in paragraph 1 of Plaintiffs Complaint do not require a response.

To the extent it do, Defendant denies that the Texas Rules of Civil Procedure apply in this

matter.

                                               Parties

          2.     Defendant does not have sufficient information to admit or deny the allegations in

paragraph 2 of Plaintiffs Complaint.

          3.     Defendant does not have sufficient information to admit or deny the allegations in

paragraph 3 of Plaintiffs Complaint.

          4.     Defendant does not have sufficient information to admit or deny the allegations in

paragraph 4 of Plaintiffs Complaint.

          5.     Defendant does not have sufficient information to admit or deny the allegations in

paragraph 5 of Plaintiffs Complaint.

          6.      Defendant admits the allegations in paragraph 6 of Plaintiffs Complaint to the

extent that Homeland is a New York corporation (and has its principal place of business in

Canton, Massachusetts) and that it is an eligible surplus lines insurer in Texas. All remaining

allegations in paragraph 6 are denied or do not require a response.

          7.      Defendant admits the allegations in paragraph 7 of Plaintiffs Complaint to the

 extent that Steadfast is a Delaware corporation (with its principal place of business in Illinois)




                                                   2
         Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 3 of 27




and that it is an eligible surplus lines insurer in Texas. All remaining allegations in paragraph 7

are denied or do not require a response.

          8.     Defendant does not have sufficient information to admit or deny the allegations in

paragraph 8 of Plaintiffs Complaint.

                                             Jurisdiction

          9.     The allegations in paragraph 9 of Plaintiffs Complaint do not require a response.

To the extent it do, Defendant denies that this matter is governed by state court jurisdictional

rules.

          10.    Defendant does not have sufficient information to admit or deny the allegations in

paragraph 10 of Plaintiffs Complaint.

          11.    Defendant does not have sufficient information to admit or deny the allegations in

paragraph 11 of Plaintiffs Complaint.

          12.    Defendant does not have sufficient information to admit or deny the allegations in

paragraph 12 of Plaintiffs Complaint.

           13.   Defendant denies all the allegations in paragraph 13 Plaintiffs Complaint, except

to the extent that Homeland is an eligible surplus lines insurer in Texas.

           14.   Defendant denies all the allegations in paragraph 14 of Plaintiffs Complaint,

 except to the extent that Steadfast is an eligible surplus lines insurer in Texas.

           15.    Defendant does not have sufficient information to admit or deny the allegations in

 paragraph 15 of Plaintiffs Complaint.

                                                 Venue

           16.    The allegations in paragraph 16 of Plaintiffs Complaint do not require a

 response. To the extent it do, Defendant denies that this matter is governed by state court venue

 rules.


                                                    3
      Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 4 of 27




                                              Facts
       17.    Defendant admits the allegations in paragraph 17 of Plaintiff's Complaint only to

the extent that certain property was insured under a primary commercial property insurance

policy issued by Lexington, and under separate excess policies issued by the other insurers.

Defendant denies the remaining allegations in paragraph 17 of Plaintiff's Complaint.

       18.     Defendant does not have sufficient information to admit or deny the allegations in

paragraph 18 of Plaintiffs Complaint.

        19.    Defendant admits the allegations in paragraph 19 of Plaintiff's Complaint only to

the extent that certain property was insured under a primary commercial property insurance

policy issued by Lexington, and under separate excess policies issued by the other insurers.

Defendant denies Plaintiff's allegation that there is one policy and further, does not have

sufficient information to admit or deny the remaining allegations in paragraph 17 of Plaintiff's

Complaint.

        20.    Defendant does not have sufficient information to admit or deny the allegations in

paragraph 20 of Plaintiffs Complaint.

        21.    Defendant admits the allegations in paragraph 21 of Plaintiffs Complaint only to

the extent that Hurricane Ike struck Texas on or about September 13, 2008 and that Plaintiff

thereafter at some point in time filed a claim with Lexington. The remaining allegations in

paragraph 21 of Plaintiffs Complaint are denied.

        22.    Defendant denies all of the allegations in paragraph 22 of Plaintiffs Complaint as

to Homeland and Steadfast and Ironshore, and denies or does not have sufficient information to

admit or deny the other allegations in paragraph 22 of Plaintiffs Complaint as to the other

insurers, except to admit that a claim was submitted to Lexington relating to the Texas Inwood

Grove apartments.


                                                 4
      Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 5 of 27




       23.     Defendant denies all of the allegations in paragraph 23 of Plaintiffs Complaint as

to Homeland and Steadfast and Ironshore, and does not have sufficient information to admit or

deny the allegations in paragraph 23 of Plaintiff's Complaint as to the other insurers.

        24.    Defendant denies all of the allegations in paragraph 24 of Plaintiff's Complaint as

to Homeland and Steadfast and Ironshore, and denies or does not have sufficient information to

admit or deny the other allegations in paragraph 24 of Plaintiff's Complaint.

        25.    Defendant denies all of the allegations in paragraph 25 of Plaintiffs Complaint as

to Homeland and Steadfast and Ironshore, except that Defendant admits that insurers underlying

the third layer of excess insurance exhausted their coverage. Defendant denies the remaining

allegations of paragraph 25 or does not have sufficient information to admit or deny some of the

allegations in paragraph 25 of Plaintiffs Complaint.

        26.     Defendant denies all of the allegations in paragraph 26 of Plaintiffs Complaint to

the extent they are meant to apply to Homeland, Steadfast or Ironshore, and Defendant does not

have sufficient information to admit or deny the allegations in paragraph 26 relating to specific

dates listed, and further denies or does not have sufficient information to admit or deny the

remaining allegations in paragraph 26 of Plaintiffs Complaint.

        27.     Defendant denies or does not have sufficient information to admit or deny the

allegations in paragraph 27 of Plaintiff's Complaint.

        28.     Defendant denies the allegations in paragraph 28 of Plaintiffs Complaint as to

Homeland and Steadfast, except that Defendant admits that Homeland, Steadfast and Ironshore

employed Randy Ison of J.S. Held as a building consultant. Defendant denies the remaining

allegations in paragraph 28 of Plaintiffs Complaint.

        29.     Defendant denies the allegations in paragraph 29 of Plaintiffs Complaint.




                                                   5
     Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 6 of 27




       30.    Defendant denies the allegations in paragraph 30 of Plaintiffs Complaint.

       31.    Defendant denies the allegations in paragraph 31 of Plaintiffs Complaint.

       32.     Defendant denies the allegations in paragraph 32 of Plaintiffs Complaint to the

extent they are meant to apply to Steadfast or Homeland and further denies that there is one

policy, and further denies or does not have sufficient information to admit or deny the remaining

allegations in paragraph 32 of Plaintiffs Complaint.

       33.     Defendant denies the allegations in paragraph 33 of Plaintiffs Complaint to the

extent they are meant to apply to Steadfast or Homeland and further denies that there is one

policy, and further denies or does not have sufficient information to admit or deny the remaining

allegations in paragraph 33 of Plaintiffs Complaint.

       34.     Defendant does not have sufficient information to admit or deny the allegations in

paragraph 34 of Plaintiffs Complaint.

        35.    Defendant does not have sufficient information to admit or deny the allegations in

paragraph 35 of Plaintiffs Complaint.

        36.    Defendant denies the allegations in paragraph 36 of Plaintiffs Complaint.

        37.    Defendant denies the allegations in paragraph 37 of Plaintiffs Complaint.

        38.    Defendant denies the allegations in paragraph 38 of Plaintiffs Complaint.

        39.    Defendant denies the allegations in paragraph 39 of Plaintiffs Complaint.

        40.    Defendant denies the allegations in paragraph 40 of Plaintiffs Complaint.

        41.    Defendant denies the allegations in paragraph 41 of Plaintiffs Complaint.

        42.    Defendant denies the allegations in paragraph 42 of Plaintiffs Complaint.

        43.    Defendant denies the allegations in paragraph 43 of Plaintiffs Complaint.

        44.     Defendant denies the allegations in paragraph 44 of Plaintiffs Complaint.




                                                 6
Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 7 of 27




 45.      Defendant denies the allegations in paragraph 45 of Plaintiff's Complaint.

 46.      Defendant denies the allegations in paragraph 46 of Plaintiff's Complaint.

 47.      Defendant denies the allegations in paragraph 47 of Plaintiff's Complaint.

 48.      Defendant denies the allegations in paragraph 48 of Plaintiff's Complaint.

 49.      Defendant denies the allegations in paragraph 49 of Plaintiff's Complaint.

 50.      Defendant denies the allegations in paragraph 50 of Plaintiff's Complaint.

                                   Causes of Action:

       Causes of Action Against Essex, Homeland, Steadfast and/or Ironshore

 51.      Defendant denies the allegations in paragraph 51 of Plaintiff's Complaint.

                                  Breach of Contract

 52.      Defendant denies the allegations in paragraph 52 of Plaintiff's Complaint.

 53.      Defendant denies the allegations in paragraph 53 of Plaintiff's Complaint.

 54.      Defendant denies the allegations in paragraph 54 of Plaintiff's Complaint.

   Noncompliance With Texas Insurance Code: Unfair Settlement Practices

 55.      Defendant denies the allegations in paragraph 55 of Plaintiff's Complaint.

 56.       Defendant denies the allegations in paragraph 56 of Plaintiffs Complaint.

 57.       Defendant denies the allegations in paragraph 57 of Plaintiff's Complaint.

  58.      Defendant denies the allegations in paragraph 58 of Plaintiff's Complaint.

  59.      Defendant denies the allegations in paragraph 59 of Plaintiff's Complaint.

  60.      Defendant denies the allegations in paragraph 60 of Plaintiffs Complaint.

 Noncompliance With Texas Insurance Code: The Prompt Payment of Claims

  61.      Defendant denies the allegations in paragraph 61 of Plaintiff's Complaint.

  62.      Defendant denies the allegations in paragraph 62 of Plaintiff's Complaint.

  63.      Defendant denies the allegations in paragraph 63 of Plaintiff's Complaint.


                                             7
     Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 8 of 27




       64.    Defendant denies the allegations in paragraph 64 of Plaintiffs Complaint.

                     Breach of the Duty of Good Faith and Fair Dealing

       65.    Defendant denies the allegations in paragraph 65 of Plaintiffs Complaint.

       66.    Defendant denies the allegations in paragraph 66 of Plaintiffs Complaint.

              Causes of Action Against Defendants Southwest and Commercial

   Noncompliance With Texas Insurance Code: Misrepresentation Regarding Policy or
                                      Insurer

       67.    Defendant does not have sufficient information to admit or deny the allegations in

paragraph 67 of Plaintiffs Complaint.

   Noncompliance With Texas Insurance Code: Misrepresentation of Insurance Policy

       68.     Defendant does not have sufficient information to admit or deny the allegations in

paragraph 68 of Plaintiffs Complaint.

       69.     Defendant does not have sufficient information to admit or deny the allegations in

paragraph 69 of Plaintiffs Complaint.

       70.     Defendant does not have sufficient information to admit or deny the allegations in

paragraph 70 of Plaintiffs Complaint.

                                Fraudulent Misrepresentation

        71.    Defendant does not have sufficient information to admit or deny the allegations in

paragraph 71 of Plaintiffs Complaint.

        72.    Defendant does not have sufficient information to admit or deny the allegations in

paragraph 72 of Plaintiffs Complaint.

        73.    Defendant does not have sufficient information to admit or deny the allegations in

paragraph 73 of Plaintiffs Complaint.

                                  Negligent Misrepresentation



                                                 8
      Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 9 of 27




       74.     Defendant does not have sufficient information to admit or deny the allegations in

paragraph 74 of Plaintiffs Complaint.

       75.     Defendant does not have sufficient information to admit or deny the allegations in

paragraph 75 of Plaintiff's Complaint.

       76.     Defendant does not have sufficient information to admit or deny the allegations in

paragraph 76 of Plaintiffs Complaint.

                           Causes of Action Against All Defendants

                                             Fraud

        77.    Defendant denies the allegations in paragraph 77 of Plaintiffs Complaint.

        78.    Defendant denies the allegations in paragraph 78 of Plaintiffs Complaint.

        79.    Defendant denies the allegations in paragraph 79 of Plaintiff's Complaint.

        80.    Defendant denies the allegations in paragraph 80 of Plaintiffs Complaint.

        81.    Defendant denies the allegations in paragraph 81 of Plaintiffs Complaint.

        82.     Defendant denies the allegations in paragraph 82 of Plaintiffs Complaint.

                                  Conspiracy to Commit Fraud

        83.     Defendant denies the allegations in paragraph 83 of Plaintiffs Complaint.

                                     Fraud by Nondisclosure

        84.     Defendant denies the allegations in paragraph 84 of Plaintiffs Complaint.

        85.     Defendant denies the allegations in paragraph 85 of Plaintiffs Complaint.

        86.     Defendant denies the allegations in paragraph 86 of Plaintiff's Complaint.

        87.     Defendant denies the allegations in paragraph 87 of Plaintiffs Complaint.

                                            Knowledge

         88.    Defendant denies the allegations in paragraph 88 of Plaintiffs Complaint.




                                                 9
    Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 10 of 27




                                            Damages

      89.      Defendant denies the allegations in paragraph 89 of Plaintiff's Complaint.

      90.      Defendant denies the allegations in paragraph 90 of Plaintiff's Complaint.

      91.      Defendant denies the allegations in paragraph 91 of Plaintiff's Complaint.

       92.     Defendant denies the allegations in paragraph 92 of Plaintiff's Complaint.

       93.     Defendant denies the allegations in paragraph 93 of Plaintiff's Complaint.

       94.     Defendant denies the allegations in paragraph 94 of Plaintiff's Complaint.

       95,     Defendant denies the allegations in paragraph 95 of Plaintiff's Complaint.

       96.     Defendant denies the allegations in paragraph 96 of Plaintiffs Complaint.

       97.     Defendant denies the allegations in paragraph 97 of Plaintiffs Complaint.

                                          Jury Demand

       98.     The allegations in paragraph 98 of Plaintiffs Complaint do not require a

response.

                                       Written Discovery

                                     Requests for Disclosure

       99.     The allegations in paragraph 99 of Plaintiffs Complaint do not require a

response. To the extent a response is required, Defendant denies that the Texas Rules of Civil

Procedure apply in this matter. (Furthermore, nothing was attached to Plaintiffs Complaint.)

                                     Requests for Production

        100.    The allegations in paragraph 100 of Plaintiffs Complaint do not require a

response. To the extent a response is required, Defendant denies that the Texas Rules of Civil

Procedure apply in this matter. (Furthermore, nothing was attached to Plaintiffs Complaint.)




                                                 10
     Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 11 of 27




                                           Interrogatories

        101.    The allegations in paragraph 101 of Plaintiff's Complaint do not require a

response. To the extent a response is required, Defendant denies that the Texas Rules of Civil

Procedure apply in this matter. (Furthermore, nothing was attached to Plaintiffs Complaint.)

                                                Prayer

        102.    Defendant denies that Plaintiff is entitled to the relief sought in its prayer

paragraph.

                               III. AFFIRMATIVE DEFENSES

        Without waiving the foregoing, and for further answer, Defendant asserts the following

conjunctive and/or alternative affirmative defenses:

        1.      Plaintiffs Complaint fails to state a claim or cause of action against Defendant

upon which relief can be granted.

        2.      Plaintiffs damages, if any, are the result of acts and/or omissions, fault,

negligence, breach of contract, violation of statute, and/or breach of duty, by or of persons,

entities, and/or parties over whom Defendant has no control and for whom Defendant has no

legal responsibility. Such acts and/or omissions were the sole cause, sole proximate cause,

producing cause, or a new and independent intervening or superseding cause of the alleged

injuries to Plaintiff.

        3.       Plaintiffs damages, if any, are the result, in whole or in part, of Plaintiffs own

 fault, acts and/or omissions, negligence, breach of duty, violation of statute, and/or breach of

 contract or that of its agents or representatives or employees.

         4.      Defendant is entitled to submit issues of proportionate fault and/or proportionate

 causation in accordance with the Texas Civil Practice & Remedies Code for the percentage of

 responsibility assigned to each party by the trier of fact.


                                                    11
     Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 12 of 27




       5.        Defendant denies that it breached its policy, violated any statutory or common

law duty owed to Plaintiff, or committed fraud.

          6.     Defendant denies that it violated the Texas Insurance Code.

          7.     Defendant pleads the doctrine of comparative good faith and fair dealing as an

equitable factor in adjudging the relative positions of the parties in this case.

          8.     If Plaintiff has suffered any damages, it has failed to mitigate them, and Plaintiffs

recovery, if any, must be reduced accordingly.

          9.     Plaintiff failed to exercise reasonable care to avoid and mitigate the damages it

seeks to recover herein, which damages Defendant disputes, and accordingly, Defendant is not

liable for any damages that could and should has been avoided or mitigated.

          10.    Plaintiffs claims and the damages it seeks are barred because granting Plaintiff

the relief it requests would result in unjust enrichment.

           11.   Plaintiffs extra-contractual claims are barred because its contract claims are

barred.

           12.   Plaintiffs extra-contractual claims are barred because Plaintiff is charged with

knowledge of the contents of its policy under Texas law.

           13.    Defendant asserts offset/credit for amounts paid as a result of the insurance claim

 alleged to be the subject of this lawsuit, and for all applicable deductibles.

           14.    In the event Plaintiff has any damages, Plaintiff has the burden of allocating

 between covered and uncovered damages.

           15.    Under the doctrine of concurrent causation, Defendant does not owe coverage for

 damage caused by non-covered perils if covered and non-covered perils combined to create

 Plaintiffs alleged loss.




                                                    12
     Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 13 of 27




        16.    Plaintiff cannot recover punitive or exemplary damages because such an award

would be unconstitutional, illegal and against public policy.

        17.     Defendant invokes its rights under the Due Process Clause and Equal Protection

Clause of the Fourteenth Amendment of the United States Constitution and affirmatively pleads

that Plaintiff's pleading for punitive damages and/or exemplary damages is violative of the

Fourteenth Amendment. Further, Defendant affirmatively pleads that the assessment and award

of punitive damages is violative of the Eighth Amendment of the United States Constitution as it

is applied to the States through the Fourteenth Amendment of the United States Constitution, in

that such awards potentially constitute an excessive fine imposed without the protections of

fundamental due process. Accordingly, Defendant invokes its rights under the Eighth and

Fourteenth Amendments and respectfully requests that this Court disallow any award of punitive

damages in as much as an award in this case would be violative of Defendant's constitutional

rights. Defendant further invokes its rights under the Fifth Amendment, as applied through the

Fourteenth Amendment to the United States Constitution, wherein it reads in part "No person

shall be . . . deprived of . . . property without due process of law. . . ."

        18.     Defendant specifically pleads that any award of punitive damages must be

supported by clear and convincing evidence.

        19.     Defendant pleads that any punitive damages award is capped.

        20.     Plaintiff's claims and the damages it seeks are barred because Plaintiff failed to

take measures to protect the property from further damage or losses or to prevent ensuing

damages or losses.

        21.     Plaintiff has not complied with conditions precedent.




                                                     13
     Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 14 of 27




          22.    Plaintiff's claim is barred based on failure of consideration. Plaintiff did not

purchase coverage for, nor did it pay premium for, alleged damages for which it now seeks

coverage.

          23.    Plaintiff's claim and the damages it seeks are barred to the extent it lacks an

insurable interest in the property at issue.

          24.    Plaintiff's claims are barred to the extent it is not an insured under Defendant's

policy.

          25.    Defendant asserts the defense of intervening or superseding cause as a bar to

coverage for Plaintiff's claim, in whole or in part.

          26.    Pursuant to Section 541.153 of the Texas Insurance Code Plaintiff's claims are

barred and the Court should award Defendant its reasonable and necessary attorney's fees and

court costs because Plaintiff's causes of action under that statute are groundless and brought in

bad faith or for the purpose of harassment.

          27.    Defendant cannot be liable to Plaintiff under Chapters 541 or 542 of the Texas

Insurance Code because Plaintiff failed to provide Defendant with written notice of claim that

reasonably apprised Defendant of the facts relating to Plaintiff's claim prior to suing Defendant.

          28.    Defendant cannot be liable to Plaintiff under Chapters 541 or 542 of the Texas

Insurance Code because Plaintiff sued Defendant prior to Plaintiff providing Defendant with any

documentation or records or information relating to Plaintiff's claim, and prior to Plaintiff

providing Defendant with requested necessary information and documentation or access to the

property to allow Defendant to even engage in claims handling with respect to Plaintiff's claim.

           29.    Plaintiff's claim and the damages it seeks are barred under Defendants' policy for

 any loss or damage that did not occur during the policy period.




                                                   14
     Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 15 of 27




       30.     Plaintiff's claims are barred or limited by the conditions, definitions, exclusions,

limitations, and other terms/provisions in Defendant's policy at issue and in the underlying

primary and excess policies (respectively, Lexington primary policy, and Max Specialty and

Essex excess policies) to which Defendant's policy follows form, subject to its own terms and

conditions, and Defendant, therefore, incorporates herein by reference its entire policy and the

underlying policies, and to the extent necessary, asserts affirmatively every condition, definition,

exclusion, limitation, and every other temi/provision in those policies, including but not limited

to, the following.

        31.     Defendant's excess policy applies "only after all primary and other underlying

insurance has been exhausted." (Homeland Policy, Amended Excess of Loss Agreement of

Indemnity — Follow Form, I.)

        32.     To the extent the insured has concealed or misrepresented any material fact or

circumstance concerning this insurance or the subject thereof, or the interest of the insured

therein, or in the case of fraud or any false swearing by the insured relating thereto, the Policy

shall be void. (Homeland Policy, Excess Property Conditions, 1. Misrepresentation and Fraud)

        33.     Coverage under Defendant's policy is restricted by the operation of the "other

insurance" clause in the policy. (Homeland Policy, Excess Property Conditions, 4. Other

Insurance)

        34.     Plaintiff's claim and the damages it seeks are barred or limited to the extent

Plaintiff failed to comply with the "protection of property" clause in Defendant's policy.

 (Homeland Policy, Excess Property Conditions, 5. Protection of Property)




                                                  15
     Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 16 of 27




       35.    Plaintiff's claim and the damages it seeks are barred or limited to the extent

Plaintiff failed to comply with the "proof of loss" clause in Defendant's policy. (Homeland

Policy, Excess Property Conditions, 9. Proof of Loss)

       36.     Plaintiff's claim is subject to the policy's appraisal provision. (Homeland Policy,

Excess Property Conditions, 11. Loss Appraisal)

       37.     Plaintiff's claim and the damages it seeks are barred or limited to the extent

Plaintiff seeks to recover a portion of damage from Defendant that is in excess of Defendant's

percentage participation in the $50 million limit of insurance provided by the third layer excess

insurers collectively. (Homeland Policy, Declarations page, and Amended Excess of Loss

Agreement of Indemnity — Following Form, IV. Excess Limit of Liability and Participation).

Such layer is excess of "$50,000,000 each and every loss occurrence plus applicable

deductible(s)" as per the primary policy. (Homeland Policy, Amended Excess of Loss

Agreement of Indemnity — Following Form, II.C. Total Sum of Underlying Insurance Limit(s))

        38.    Defendant's liability for covered damage or loss is limited to a maximum of 20%

of the loss amount that is over and above $50 million per each loss occurrence, and never more

than (1) $10 million (20% of $50 million) in any one loss occurrence or (2) the interest of the

insured, whichever is less. (Homeland Policy, Amended Excess of Loss Agreement of

 Indemnity — Following Form, IV. Excess Limit of Liability and Participation). And Defendant's

 liability will never exceed this amount "irrespective of the number of locations involved in the

 loss." (Homeland Policy, Loss Occurrence Limit of Liability Endorsement #3)

        39.     Subject to the liability limit of Defendant's policy, Defendant's liability is

 "limited to the least of the following: (a) The actual adjusted amount of loss, less applicable

 deductible(s) and/or underlyer(s); (2) The reported value for each item of insurance insured at a




                                                  16
     Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 17 of 27




location shown on the latest reported values on file with this Insurance Company, less applicable

deductibles and primary and underlying excess limits. If no value, item or location is reported to

this Insurance Company then there is no coverage; (c) The Limit of Liability or amount of

insurance shown on the face of this policy or endorsement onto this policy." (Homeland Policy,

Loss Occurrence Limit of Liability Endorsement #3).

        40.    Defendant's policy does not insure against loss or damage caused directly or

indirectly by "[Mood, surface water, . . ., all whether driven by wind or not; water which backs

up through sewers or drains; water below the surface of the ground including that which exerts

pressure on or flows, seeps or leaks through sidewalks, driveways, foundations, walls, basements

or other floors, or though doors, windows or other openings in such sidewalks, driveways,

foundations, walls or floors - . . . ." "Such loss or damage is excluded regardless of any other

cause or event contributing concurrently or in any sequence to the loss." (Homeland Policy,

Amended Excess of Loss Agreement of Indemnity—Following Form, Special Exclusions, B.)

        41.     To the extent pollution and damages attributable to pollutants are applicable in

this case, Defendant's policy does not insure against loss or damage caused directly or indirectly

by "[a]ctual, alleged, or threatened release, discharge, dispersal or escape of toxic or hazardous

 substances, contaminants or pollutants, at any time regardless of whether sudden or accidental,

 all whether direct or indirect, proximate or remote, or in whole or in part caused by, contributed

 to or aggravated by any physical damage insured by this Agreement. The term 'pollutant' used

 in this clause is defined as any solid, liquid, gaseous or thermal irritant, including but not limited

 to vapor, fumes, acids, alkalis, chemicals and/or waste." "Such loss or damage is excluded

 regardless of any other cause or event contributing concurrently or in any sequence to the loss."

 (Homeland Policy, Amended Excess of Loss Agreement of Indemnity—Following Form, Special




                                                   17
     Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 18 of 27




Exclusions, C.) See also the absolute pollution exclusion in the Max Specialty policy and the

exclusion in the Lexington policy excluding any coverage relating to pollution and pollutant

clean-up and removal and debris that contains pollutants. (Max Specialty policy, Absolute

Pollutant and Asbestos Exclusions Endorsement, and Lexington policy, Pollution,

Contamination, Debris Removal Exclusion Endorsement, 2., 3. and 4.)

       42.     Defendant's policy does not insure against loss or damage caused directly or

indirectly by "1. Asbestos removal; 2. Demolition or increased cost of reconstruction, repair or

debris removal necessitated by the enforcement of any law or ordinance regulating asbestos

removal; 3. Any governmental direction or request declaring that asbestos present in or part of or

utilized on any undamaged portion of the Insured's property can no longer be used for which it

was intended or installed and must be removed or modified." "Such loss or damage is excluded

regardless of any other cause or event contributing concurrently or in any sequence to the loss."

(Homeland Policy, Amended Excess of Loss Agreement of Indemnity — Following Form,

Special Exclusions, D.) See also the Absolute Asbestos Exclusion of the Max Specialty policy,

which provides that the policy "does not apply to any loss, demand, claim, occurrence, direct

physical loss or damage, suit or expense arising out of or related in any way to asbestos or

asbestos containing material or material that is alleged to has contained asbestos. The company

 shall has no duty of any kind with respect to any such loss, demand, claim, occurrence, direct

physical loss or damage, expense or suit. This exclusion applies to all coverages under this

 policy." (Max Specialty policy, Absolute Pollutant and Asbestos Exclusions Endorsement)

        43.     Defendant's policy does not insure against loss or damage caused directly or

 indirectly by "costs, expenses, fines or penalties incurred or sustained by or imposed on the

 Insured at the order of any government agency, court or other authority arising from any cause




                                                 18
     Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 19 of 27




whatsoever." "Such loss or damage is excluded regardless of any other cause or event

contributing concurrently or in any sequence to the loss." (Homeland Policy, Amended Excess

of Loss Agreement of Indemnity — Following Form, Special Exclusions, E.)

       44.     Defendant's Policy "does not apply to any loss or damage caused by or resulting

from the actual or threatened existence, growth, release, transmission, migration, dispersal or

exposure to 'Mold', 'Spores', or 'Fungus'. 'Mold', 'Spores', or 'Fungus' means any mold,

spores, or fungus of any type that can cause or threaten physical damage, deterioration, loss of

use or loss of value or marketability, to any tangible property whatsoever. This includes, but it is

not limited to, any type(s) of mold, spores, or fungus that is damaging or potentially damaging to

tangible property. Nor does this policy apply to the cost of removal, dispersal, decontamination

or replacement of Insured property which has been contaminated by mold, spores, or fungus and

by law or civil authority must be restored, disposed of, or decontaminated. Any such loss

described above is excluded, regardless of any other cause of event that contributed concurrently

or in any sequence to the loss." (Homeland Policy, Mold, Spores, or Fungus Exclusion,

Endorsement #4).

        45.     Under Defendant's policy, property that is "not actually repaired, rebuilt or

replaced within two (2) years after the date of destruction or damage, or within such further time

 as the Company may during the two (2) years, in writing, allow" will be valued at "actual cash

 value" as opposed to "replacement cost (without deduction for depreciation)." (Homeland

 Policy, Replacement Cost Endorsement, Building(s) and Equipment, Endorsement #9, II.G.)

        46.     Under Defendant's policy, "any loss to tenants' improvements and betterments to

 buildings if repaired or replaced at the expense of others for the use of the Insured" will be

 valued at "actual cash value" as opposed to "replacement cost (without deduction for




                                                  19
     Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 20 of 27




depreciation)." (Homeland Policy, Replacement Cost Endorsement, Building(s) and Equipment,

Endorsement #9, II.H.)

       47.     Under Defendant's policy, property that is "not actually repaired, rebuilt or

replaced on the same premises," will be valued at "actual cash value" as opposed to

"replacement cost (without deduction for depreciation)." (Homeland Policy, Replacement Cost

Endorsement, Building(s) and Equipment, Endorsement #9, II.I.)

       48.     Defendant's policy does not cover loss "[o]ccasioned directly or indirectly by

enforcement of any local or state ordinance or law regulating the construction, repair or

demolition of building(s) or structure(s), unless such liability has been expressly assumed under

this policy." (Homeland Policy, Replacement Cost Endorsement, Building(s) and Equipment,

Endorsement #9, III.A.)

        49.    Defendant's policy does not cover loss "unless and until the damaged or

destroyed property is actually repaired or replaced by the Insured with due diligence and

dispatch." (Homeland Policy, Replacement Cost Endorsement, Building(s) and Equipment,

Endorsement #9, III.B.)

        50.    Defendant's liability for loss where replacement cost applies "shall not exceed the

smallest of the following amounts: A. The amount of this policy applicable to the damaged or

destroyed property; B. The replacement cost of the property or any part thereof identical with

 such property and intended for the same occupancy or use; or C. The amount actually and

 necessarily expended in repairing or replacing said property or any part thereof; D. The interest

 of the Insured." (Homeland Policy, Replacement Cost Endorsement, Building(s) and

 Equipment, Endorsement #9, V.)




                                                 20
     Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 21 of 27




        51.    Defendant's policy does not provide coverage for land, land values or water.

(Lexington policy, Pollution, Contamination, Debris Removal Exclusion Endorsement, 1.)

        52.    Defendant's policy excludes "loss, damage, costs, expenses, fines or penalties

incurred or sustained by or imposed on the insured at the order of any Governmental Agency,

Court or other Authority arising from any cause whatsoever." (Lexington policy, Pollution,

Contamination, Debris Removal Exclusion Endorsement, 5. Authorities Exclusion)

        53.    Defendant's policy excludes loss or damage caused directly or indirectly by

"seizure or destruction of property by order of governmental authority." (Lexington policy,

Causes of Loss — Special Form, B. Exclusions, 1.c. Governmental Action; also see Max

Specialty policy, Policy Conditions, 7. and Essex policy, Policy Conditions, 7., which exclude

Government Activities.)

        54.    Defendant's policy excludes loss or damage caused directly or indirectly by "the

failure of power or other utility service supplied to the described premises, however caused, if

the failure occurs away from the described premises." (Lexington policy, Causes of Loss —

Special Form, B. Exclusions, 1.e. Power Failure)

        55.    Defendant's policy excludes loss or damage caused by or resulting from "delay,

loss of use or loss of market." (Lexington policy, Causes of Loss — Special Form, B. Exclusions,

2.b.)

         56.    Defendant's policy excludes loss or damage caused by or resulting from wear and

tear; rust, corrosion, fungus, decay, deterioration, hidden or latent defect, or any quality in

 property that causes it to damage or destroy itself; settling, cracking, shrinking or expansion;

 dampness or dryness of atmosphere' marring or scratching. (Lexington policy, Causes of Loss —

 Special Form, B. Exclusions, 2.d.)




                                                21
     Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 22 of 27




       57.    Defendant's Policy excludes loss or damage caused by or resulting from

"continuous or repeated seepage or leakage of water that occurs over a period of fourteen (14)

days or more." (Lexington policy, Causes of Loss — Special Form, B. Exclusions, 21)

       58.     Defendant's policy excludes loss or damage caused by or resulting from "[a]cts or

decisions, including the failure to act or decide, of any person, group, organizations or

governmental body." (Lexington policy, Causes of Loss — Special Form, B. Exclusions, 3.b.)

       59.     Defendant's policy excludes loss or damage caused by or resulting from "[f]aulty,

inadequate or defective: (1) Planning, zoning, development, surveying, siting; (2) Design,

specifications, workmanship, repair, construction, renovation, remodeling, grading, compaction;

(3) Materials used in repair, construction, renovation or remodeling; or (4) Maintenance; of part

or all of any property on or off the described premises." (Lexington policy, Causes of Loss —

Special Form, B. Exclusions, 3.c.)

        60.    Defendant's policy does "not pay for loss or damage to: . . . [t]he interior of any

building or structure caused by or resulting from rain, snow, sleet, ice, sand or dust, whether

driven by wind or not, unless: (1) The building or structure first sustains damage by a Covered

Cause of loss to its roof or walls through which the rain, snow, sleet, ice, sand or dust enters."

 (Lexington policy, Causes of Loss — Special Form, C. Limitations, 1.c.)

        61.     There is no coverage under Defendant's policy for any increase of business

 income loss or extra expense loss caused by or resulting from "[s]uspension, lapse or

 cancellation of any license, lease or contract. But if the suspension, lapse or cancellation is

 directly caused by the suspension of 'operations', we will cover such loss that affects your

 Business Income during the 'period of restoration.' (Lexington Policy, Causes of Loss - Special

 Form, B. Exclusions, 4. Special Exclusions, a.(3)(b)).




                                                 22
     Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 23 of 27




       62.     There is no coverage under Defendant's policy for "[a]ny Extra Expense caused

by or resulting from suspension, lapse or cancellation of any license, lease or contract beyond the

`period of restoration.'" (Lexington Policy, Causes of Loss - Special Form, B. Exclusions, 4.

Special Exclusions, a.(4)).

        63.    There is no coverage under Defendant's policy relating to business income for

"[a]ny other consequential loss." (Lexington policy, Causes of Loss - Special Form, B.

Exclusions, 4. Special Exclusions, a.(5)).

        64.    Defendant's policy does not provide coverage for "[b]ridges, roadways, walks,

patios or other paved surfaces; . . . Foundations of buildings . . . ; Land (including land on which

the property is located), water, growing crops or lawns; . . . Retaining walls that are not part of

the building . . . ; Underground pipes, flues or drains; . . . Fences, radio or television antennas

[located outside of buildings] . . . ; signs [not attached to buildings and located outside of

buildings], or trees, shrubs or plants [located outside of buildings]," except as provided in the

coverage extensions. (Lexington policy, Building and Personal Property Coverage Form, 2.

Property Not Covered)

        65.     Plaintiff's claim and the damages it seeks are barred or limited to the extent

Plaintiff failed to comply with its duties under the policy in the event of loss or damage, in one or

 more ways, including but not limited to, by failing to: report in writing, as soon as practicable, a

 loss giving rise to a claim under the policy; give prompt notice of the loss or damage and

 describe the property involved; give a description of how, when and where the loss or damage

 occurred; give a complete inventory of the damaged and undamaged property, including

 quantities, costs, values and amount of loss claimed; take all reasonable steps to protect the

 covered property from further damage. (Homeland Policy, Excess Property Conditions, 6.




                                                  23
     Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 24 of 27




Notice of Loss; and Lexington policy, Building and Personal Property Coverage Form, E. Loss

Conditions, 3. Duties in the Event of Loss or Damage, d.). Defendant has been prejudiced by

Plaintiff's failure to comply with its duties under the policy.

        66.     Plaintiff's claim and the damages it seeks are barred to the extent Plaintiff

breached the policy by bringing this action against Defendant in contravention of the Suit

provision, which states that "[n]o suit, action or proceeding for the recovery of any claim under

this policy shall be sustainable in any court of law or equity unless the same be commenced

within twelve (12) months next after discovery by the Insured of the occurrence which gives rise

to the claim, provided however, that if by the laws of the State within which this policy is issued

such limitation is invalid, then any such claims shall be void unless such action, suit or

proceeding be commenced within the shortest limit of time permitted by the laws of such State.

(Homeland policy, Excess Property Conditions, 12. Suit)

        67.     Plaintiff's claim and the damages it seeks are barred to the extent Plaintiff

breached the policy by bringing a legal action against Defendant in contravention of the policy

provision that no legal action can be brought unless there has been full compliance with all terms

of the Coverage Part, and the action was not brought within 2 years after the date on which the

loss occurred. (Lexington policy, Commercial Property Conditions, D.)

         68.     Plaintiff's claim is barred for any loss or damage that did not occur during the

 policy period. (Lexington policy, Commercial Property Conditions, H.)

         69.     The applicable deductible is 3% of the total insured value of each building

 involved in the loss or damage, subject to a minimum of $100,000. (Lexington policy,

 Endorsement # 002.)




                                                    24
     Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 25 of 27




       70.     To the extent applicable, any assignment of Defendant's policy to a third person is

void pursuant to the provision that the "Insured's rights and duties under this policy may not be

transferred without the Company's written consent except in the case of death of an individual

Named Insured." (Max Specialty policy, Policy Conditions, 17. and Essex policy, Policy

Conditions, 17.)

       71.     Defendant reserves the right to assert additional provisions as the case develops as

there may be other provisions that apply of which Defendant has no present knowledge.

       72.     Without waiving the foregoing and for further answer, Defendant reserves the

right to amend its answer to Plaintiff's allegations after it has an opportunity to more closely

investigate same, as is its right and privilege under the Federal Rules of Civil Procedure.

                     IV.     DEFENDANT'S ORIGINAL COUNTERCLAIM

        Defendant/Counter-Plaintiff Homeland Insurance Company of New York ("Defendant")

files this Original Counterclaim complaining of Plaintiff/Counter-Defendant Texas Inwood

Grove Apartments, L.P. ("Plaintiff') and shows the Court as follows:

                                                Parties

       1.       Defendant is a foreign corporation organized under the laws of the state of New

York, with its principal place of business in Canton, Massachusetts.


       2.       Plaintiff is alleged by Plaintiff to be a Texas entity with its principal place of

business in Harris County, Texas. Plaintiff has already made an appearance in this action.


                                                 Venue
        3.         This Court has venue over this action pursuant to 9 U.S.C. § 205.




                                                   25
     Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 26 of 27




                                            Counterclaim

A.      Texas Insurance Code

       4.          Plaintiffs claims under Texas Insurance Code §§ 541.001, et. seq. are groundless

in fact and law. Defendant seeks recovery of its reasonable and necessary attorneys' fees and

costs incurred in defense of this groundless statutory action, pursuant to § 541.153 of the Texas

Insurance Code.


                                           V. PRAYER

        Therefore, Defendant respectfully prays that upon full trial and final hearing, it be

adjudged that Plaintiff takes nothing in this suit against Defendant, that Defendant recovers its

reasonable attorneys' fees and costs for having to defend Plaintiffs groundless statutory claims,

and that Defendant be awarded such other and further relief, at law and in equity, to which it is

justly entitled.

                                                Respectfully submitted,

                                                By: /s/ Jay W. Brown
                                                        Jay W. Brown
                                                        Texas Bar No. 03138830
                                                        1100 JPMorgan Chase Tower
                                                        600 Travis Street
                                                        Houston, Texas 77002
                                                        Telephone: (713) 650-8400
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                                                 ATTORNEY-IN-CHARGE FOR DEFENDANT
                                                 HOMELAND INSURANCE COMPANY OF NEW YORK




                                                   26
     Case 4:12-cv-01723 Document 3 Filed on 06/08/12 in TXSD Page 27 of 27




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                                CERTIFICATE OF SERVICE

  I hereby certify that a true and correct copy of this document has been forwarded to all counsel
of record by e-filing in compliance with the applicable Federal Rules of Civil Procedure, on the
8th day of June 2012.


                                                     /s/ Hilary C. Borow
                                              Hilary C. Borow




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